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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

      UNITED STATES OF AMERICA                     :
                                                   :      CASE NO. 21-cr-444 (JEB)
                    v.                             :
                                                   :
      BRIAN CHRISTOPHER MOCK,                      :
                                                   :
                            Defendant.             :

                                           NOTICE OF FILING

             For the purpose of illustrating the government’s consistent and diligent efforts to produce

      voluminous discovery materials arising out of the breach of the United States Capitol on January

      6, 2021 (the “Capitol Breach”), the government has filed status memoranda describing the efforts

      of the Capitol Breach Discovery Team on a regular basis since July 2021. We request that those

      memoranda, listed below and attached as Exhibits, be made part of the record in this case. The

      government will mail copies of this notice and the attached Exhibits to Brian Mock, who is

      proceeding pro se.

         1. Memorandum Regarding Status of Discovery as of August 23, 2021; and

         2. Memorandum Regarding Status of Discovery as of September 14, 2021.


                                                   Respectfully submitted,
                                                   CHANNING D. PHILLIPS
                                                   Acting United States Attorney
                                                   DC Bar No. 415793


By:          /s/ Emily A. Miller                        By:     s/Amanda Jawad
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